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 1       United States v. Leonardo Tru1sen De 01iveira, Case No. 21CR1538-GPC
 2                                                  FINANCIAL ADDENDUM

 3          1.      Defendant's conviction will include financial penalties such
 4   as a     forfeiture,         fine,        and restitution.              This Financial Addendum is
 5   incorporated          into     and        part    of       Defendant's        plea       agreement,        and    the
 6   additional terms and warnings below apply.

 7          A.      Forfeiture

 8                  i.      In     addition           to     the    penalties        outlined            in   the     plea
 9   agreement, federal law states Defendant must forfeit to the United States

10   all property seized in connection with this case pursuant to Title 18,

11   United       States    Code,         Sections          981 (a) (1) (C),       982 (a)     (1),    982 (a) (2) (b),

12   1028 (b) (5), and Title 28, United States Code, Section 2461 (c).

13                  ii.     As part of Defendant's guilty plea to Counts 1, 2, 5, 10,
14   12, 15, and 16 of the Indictment, as set forth in section I of the plea

15   agreement,       Defendant           consents          to    the    forfeiture           allegations       of     the

16   Indictment and agrees to forfeit all properties seized in connection

17   with the case,         including,              but not limited to:              ( 1)     an Apple iPhone 11

18   IMEI #356553104961741;                (2) an Apple iPhone 7 IMEI # 352986090966767; (3)

19   a    Nokia     TA-1218        IMEI        #355783102026665;             (4)     a      Nokia      TA-1218        IMEI

20   #355783102026665;              (5)        an     ASUS       Chrome     Laptop          with      Serial     Number

21   355783102026798;             (6)     an iPad Serial                # DLXGR47VDJHH;            and    (7)   a Acer
22   Chromebook Serial #NXHKBAA002108275337611.

23                  iv.     Defendant consents and agrees to the immediate entry of
24   a   preliminary        order         of    forfeiture         upon     entry        of    the     guilty       plea.

25   Defendant agrees that upon entry of the preliminary order of forfeiture,

26   such order shall be final as to Defendant and as to Defendant's interests

27   in the properties. Defendant agrees to immediately withdraw any claims

28   in pending administrative or civil forfeiture proceedings to properties

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     1   seized in connection with this case that are directly or indirectly

     2   related     to      the    criminal       conduct.           Defendant     agrees   to    execute     all

 3       documents      requested by the Government to facilitate                            or complete the

 4       forfeiture process. Defendant further agrees not to contest, or to assist

 5       any other person or entity in contesting,                            the forfeiture of property
 6       seized in connection with this case. Contesting or assisting others in

 7       contesting the forfeiture shall constitute a material breach of the plea

 8       agreement,       relieving the Government of all its obligations under the

 9       agreement including but not limited to its agreement to recommend an
10       adjustment         for    Acceptance      of Responsibility.                  Defendant   waives      all
11       demand for payment of the forfeiture judgment and waives all notices for

12       substitution of property to collect the full amount of the judgment.

13                     v.         Defendant consents and agrees to the entry of orders of

14       forfeiture       for such property and waives the requirements of Federal

15       Rules   of Criminal             Procedure     32. 2 and 43 (a)            regarding notice       of the

16       forfeiture in the charging instrument,                         announcement of the forfeiture

17       at   sentencing,          and incorporation of the                  forfeiture in the judgment.

18       Defendant understands              that     the    forfeiture        of assets      is part      of the

19       sentence that may be imposed in this case and waives any failure by the

20       Court to advise defendant of this, pursuant to Rule 11 (b) (1)                            (J),    at the
21       time the Court accepts the guilty plea(s).

22                     vi.        Defendant agrees to take all steps as requested by the

23       United States to pass clear title to forfeitable assets to the United

24       States and to testify truthfully in any judicial forfeiture proceeding.

25                     vii. Defendant agrees that the forfeiture provisions of this
26       plea    agreement          are     intended            to,    and    will,     survive     defendant,
27       notwithstanding           the    abatement        of any underlying            criminal    conviction

28       after   the      execution        of   this       agreement.        The    forfeitability        of   any

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 1   particular property pursuant to this agreement shall be determined as

 2   if defendant had survived, and that determination shall be binding upon
 3   defendant's heirs, successors and assigns until the agreed forfeiture,

 4   including any agreed money judgment amount, is collected in full.

 5           B.      Restitution

 6                   i.    The crime to which Defendant is pleading guilty requires
 7   an order from the Court pursuant to 18 U.S.C.                   §    3663A that Defendant

 8 make mandatory restitution to the victim(s) of the offense of conviction
 9   or the estate(s) of the victims(s).

10                   ii.   The amount of restitution ordered by the Court shall

11   include restitution to any person directly harmed by the Defendant's

12   criminal conduct in the course of the scheme,                   conspiracy, or pattern.

13   The parties agree that the Court may also order restitution to persons
14   other than the victims of the offense of conviction.                         Restitution may
15   include losses arising from counts dismissed and charges not prosecuted
     January 21, 2
16   as well as all relevant conduct in connection with those counts and
17   charges.

18                   iii. The parties estimate the amount of restitution will be
19   approximately         $160,000.00.         Accordingly,   the    parties       will   jointly
20   recommend that Defendant pay restitution in the amount of $160,000.

21   Defendant understands that this is only an estimate based on currently

22   available       information,     and the     Court may    impose      restitution of any

23   amount.      Defendant agrees that a restitution award in an unanticipated

24   amount is not grounds to withdraw Defendant's guilty plea.                     The defendant

25   also agrees that nothing in this plea agreement or restitution addendum

26   limits the Government's duty to provide complete and accurate facts to
27   the    district       court    and   the    U.S.   Probation        Office    to   calculate
28   restitution.

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 1                   iv.    Defendant agrees that notwithstanding any court order,

 2   the restitution is due and payable in full and delinquent until paid in

 3   full.        Any payment     schedule   imposed by the         Court establishes    only a

 4   minimum        obligation,     and   does   not   foreclose     the   United   States   from

 5   exercising all legal actions, remedies, and process available to collect

 6   the restitution judgment, including but not limited to remedies pursuant

 7   to 18 U.S.C.          §§   3613 and 3664 (m) (1) (A).     Defendant will make a good
 8   faith effort to pay the full restitution.               Defendant further agrees that

 9   the restitution judgment may be executed against property wherever it

10   is held and Defendant waives all rights to contest the enforcement of

11   the judgment against any and all property owned by defendant or in which

12   he has an interest.           Defendant consents to the entry of the restitution

13   judgment into the Treasury Offset Program and waives all notices of the

14   Treasury Offset Program, all notices of offset, and all rights to contest
15   any and all offsets.
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16           v.      Restitution shall be paid to or on behalf of the following
17   victim(s):

18           Victim                                        Amount

19           Ride share Company B                      $67,476.53

20           Ride share Company F                      $9,041.67

21           Delivery Company A                        $6,246.83

22           Delivery Company C                        $33,385.54

23           Delivery Company D                        $7,048.87

24           Delivery Company E                        $24,437.55

25          Delivery Company G                         $12,707.82

26          The restitution shall be paid through the Office of the Clerk of

27   the District Court by bank or cashier's check or money order referencing

28

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  1   the criminal case number and made payable to the "Clerk, United States
 2    District Court."

 3            C.     FINE.

 4                   i.      Any payment schedule for                a   fine imposed by the Court
 5    establishes only a minimum obligation. Defendant will make a good faith
 6    effort       to pay any fine.            Regardless        of Defendant's          compliance,    any
 7    payment schedule does not limit the United States' ability to collect

 8    additional        amounts    from    Defendant           through    all    available      collection
 9    remedies at any time.

10                   ii.     The parties agree that notwithstanding any Court imposed

11    schedule for payment of a fine,                 the total amount of the fine shall be

12    due immediately and shall be deemed to be payable forthwith. Any payment

13    schedule imposed by the Court establishes only a minimum obligation.

14    Any     payment      schedule     does    not       foreclose       the     United     States    from

15    exercising all legal actions, remedies, and process available to collect

16    the fine,      including but not limited to remedies pursuant to 18 U.S.C.

17    §§    3613 and 3664 (m) (1) (A).         Defendant will make a good faith effort to

18    pay the fine.          Defendant agrees to entry of the fine into the Treasury

19    Offset Program ("TOP")            and waives all notices of TOP and offsets, and
20    waives all rights to contest the TOP offsets.

21                   iii. The fine shall be paid through the Office of the Clerk
22 · of     the    District     Court     by   bank       or   cashier's        check   or   money    order

23    referencing the criminal case number and made payable to the "Clerk,
24    United States District Court."

25           D.     ADDITIONAL TERMS

26           i.     Defendant agrees to waive all constitutional and statutory

27    challenges (including direct appeal, habeas corpus, or any other means)

28    to    any    forfeiture     carried      out    and      any   res ti tut ion     or   fine   ordered

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 1   pursuant to this agreement,                including any claim that the forfeiture,

 2   restitution, or fine constitutes an excessive fine or punishment under
 3   the United States Constitution.

 4           ii.    The United States may run credit and other financial reports

 5   on     Defendant    using    public       and     non-public    databases     and        share     such

 6   information with the Court and the U.S. Probation Office. Defendant also

 7   authorizes the Internal Revenue Service to transmit to the United States

 8   Attorney's Office copies of Defendant's income tax returns from year

 9 preceding the crime until the restitution is paid in full and forfeiture

10   proceedings      are   completed,         and     Defendant    will    promptly      execute       any

11   documents necessary to carry out this authorization.

12           4.    Not later than 30 days after execution of the plea agreement,

13   Defendant shall complete and provide to the United States, under penalty

14   of perjury, a financial disclosure form listing all Defendant's current

15   and projected assets and financial interests valued at more than $1,000.

16   These include all assets and financial interests in which Defendant has

17   an   interest      (or had an       interest prior          to May 14,      2021),       direct     or

18   indirect,     whether held in Defendant's name or in the name of another,

19   in   any property,       real      or personal,       including marital           and     community

20   property. Defendant shall also identify all assets valued at more than

21   $5,000 which have been transferred to any third party since May 14,

22   2021,    including the location of the assets,                 the identity of the third

23   party    or   parties,      and    the    amount    of    consideration      received        by    the
24   Defendant for the transferred assets.

25           iii. From the date this financial addendum is executed until the

26   fine    and/or     restitution/          forfeiture      judgment     is   paid     in    full     and

27   forfeiture proceedings are completed,                    Defendant shall notify the Asset

28   Recovery      Section of     the    United States Attorney's               Office    of     ( i)   any

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 1   interest in property worth more                       than $1,000        that   Defendant obtains,

 2   directly or indirectly, and (ii) any interest in property owned directly

 3   or indirectly by Defendant worth over $1,000 that Defendant intends to
 4   transfer.           This     obligation covers          any interest in property obtained

 5   under        any    other     name   or   entity,      including     a    trust,     partnership     or

 6   corporation.             The parties will jointly recommend that this requirement

 7   also be imposed as a condition of supervised release.

 8           iv.        Defendant understands that the restitution is delinquent until

 9   paid in full.              Until the restitution is paid in full,                    Defendant shall

10   immediately notify the Asset Recovery Section, United States Attorney's

11   Office, of any material change in Defendant's financial condition.

12           v.         Defendant    consents       to    the    immediate     recording     of    judgment

13   liens        as    the     United    States    deems       appropriate     as   to    all    financial

14   penalties imposed by the Court.

15                                                        ****
16           Defendant          understands        that    the    main   plea    agreement        and   this

17   financial addendum embody the entire plea agreement between the parties

18   and supersedes any other agreement, written or oral.

19
                   1/21/2022                                * Leonardo Trulsen de Oliveira
20           Date                                          LEONARDO TRULSEN DE OLIVEIRA
                                                           Defendant
21

22            1/21/2022

23           Date                                          SANDRA LECHMAN
                                                           Defense Counsel
24

25

26
             January 21, 2022
           Date                                            ~,-
                                                           United States Attorney
27                                                         P. KEVIN MOKHTARI
                                                           Assistant U.S. Attorney
28   On January 21, 2022, I, Sandra Lechman, attorney for Leonardo Trulsen de Oliveira rea
     nd explained this addendum to Mr. Trulsen de Oliveira with the help of a Court
     ~ihaflmda~olii~d~interpreter. Mr. 12:filsen de Oliveira u~¥~t'ffli~'i'lfYghing we
     iscussed and authorized me to sign this addendum for him. He unders2111.~t~'§=3~YGPC
     ignature on his behalf has the same effect as if he had signed himself. He agrees to
     e bound by all the terms and conditions of this addendum.
